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      EXHIBIT LIST
UNITED STATES v. YUJING ZHANG                                       UNITED STATES DISTRICT COURT
                                                                    SOUTHERN DISTRICT OF FLORIDA
ASSISTANT U.S. ATTORNEYS: ROLANDO GARCIA AND                        CASE NUMBER: 19-80056-CR-ALTMAN
MICHAEL R. SHERWIN
DEFENSE ATTORNEY: YUJING ZHANG
STANDBY COUNSEL: ROBERT ADLER AND KRISTY
MILITELLO
EX.              DESCRIPTION OF EXHIBIT                WITNESS           DATE       DATE          NOTES
                                                                         OFFERED    ADMITTED
1-1, 1-2, 1-3,   MAR-A-LAGO SECRET SERVICE             USSS SA KRYSTLE
1-4, 1-5         CHECKPOINT Photos                     KERR

2                MAR-A-LAGO Ariel Photo                USSS SA KRYSTLE
                                                       KERR
3                HOPE TAXI AND LIMO Receipt            WILLY ISIDORE

4                MAR-A-LAGO Surveillance Video         USSS SA BRENNAN
                 (thumb drive)                         FORTUNE
5                BATH & TENNIS CLUB Surveillance       USSS SA BRENNAN
                 Video (thumb-drive)                   FORTUNE

6                MAR-A-LAGO & BATH TENNIS              USSS SA BRENNAN
                 CLUB Surveillance Video Compilation   FORTUNE
7-1, 7-2         MAR-A-LAGO Reception Area Photos      ARIELA GRUMAZ
8                YUJING ZHANG Passports                USSS SA SAMUEL
                                                       IVANOVICH
9                MIRANDA Warnings Form                 USSS SA SAMUEL
                                                       IVANOVICH


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EX.   DESCRIPTION OF EXHIBIT                WITNESS          DATE        DATE          NOTES
                                                             OFFERED     ADMITTED
10    Video of Defendant at UNITED STATES   USSS SA SAMUEL
      SECRET SERVICE Interview Room         IVANOVICH

11    MIRANDA Warnings Video Clip           USSS SA SAMUEL
                                            IVANOVICH
12    Ariel Photo of MAR-A-LAGO showing     USSS SA SAMUEL
      movement of Defendant                 IVANOVICH

13    iPhone 7                              USSS SA SAMUEL
                                            IVANOVICH
14    RED ROOF Receipt                      USSS SA SAMUEL
                                            IVANOVICH
15    UNITED AIRLINES Receipt               USSS SA SAMUEL
                                            IVANOVICH
16    UNITED AIRLINES Records               CERTIFICATION
                                            OF THE
                                            CUSTODIAN
17    COLONY HOTEL Records                  CERTIFICATION
                                            OF THE
                                            CUSTODIAN
18    RED ROOF INN Records                  CERTIFICATION
                                            OF THE
                                            CUSTODIAN




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EX.   DESCRIPTION OF EXHIBIT                   WITNESS           DATE      DATE         NOTES
                                                                 OFFERED   ADMITTED
19    USSS Evidence Custody Form               USSS SA CRAIG
                                               WILLIAMS
20    FBI iPhone 7 Data Extraction Report      FBI FORENSIC
                                               EXAMINER
                                               RICARDO SOTO
21    iPHONE 7 Data Extraction CD              FBI FORENSIC
                                               EXAMINER
                                               RICARDO SOTO
22    iPHONE Data Extraction Spreadsheet       FBI FORENSIC
                                               EXAMINER
                                               RICARDO SOTO
23    iPHONE Date Extraction Spreadsheet       FBI LANGUAGE
      (TRANSLATED)                             SPECIALIST
                                               CATHERINE K.S.
                                               CHANG
24    YUJING ZHANG Contract w/ Beijing         FBI LANGUAGE
      Peace Friendship Enterprise Mgmt. Co.    SPECIALIST
                                               CATHERINE K.S.
                                               CHANG
25    YUJING ZHANG Contract w/ Beijing         FBI LANGUAGE
      Peace Friendship Enterprise Mgmt. Co.    SPECIALIST
      (TRANSLATED)                             CATHERINE K.S.
                                               CHANG
26    Palm Beach Sheriff’s Office Mar-a-Lago   USSS SA BRENNAN
      Surveillance Video CD                    FORTUNE
27    Photo of Secret Service Vest             USSS SA KRYSTLE
                                               KERR
28    Time Differential Table                  USSS SA SAMUEL
                                               IVANOVICH



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